LAW OFFICES OF

LAWRENCE KATZ
448 EMPIRE BLVD
SUITE 101
BROOKLYN, NEW YORK 11225
TELEPHONE lkatz@lawkatz.com FAX
(516) 374-2118 (516) 544-8878

September 4, 2021
Hon. Frederic Block USDJ

225 Cadman Plaza East
Brooklyn, New York 11201

Re: Windward Bora, LLC v Shami.,et al. 20 CV 3668 (FB)(RER)

Dear Sir/Madam:

Lawrence Katz, the attorney for the defendant Rachel Shami, regrets to inform the
court that on or about August 8, 2021 Rachel Shami passed away. Pursuant to Rule 25(a) the
above constitutes a notation of death on the record.

Thank you for your courtesy and cooperation in this matter.

Lawrence Katz
